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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

LUXOTTICA GROUP S.p.A. and OAKLEY,
INC.,                                              Case No. 20-cv-02297

                       Plaintiffs,                 Judge Marvin E. Aspen

       v.                                          Magistrate Judge Sidney I. Schenkier

RBZXR.COM, et al.,

                       Defendants.


                     NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiffs Luxottica

Group S.p.A. and Oakley, Inc. (“Plaintiffs”) hereby dismiss this action, with leave to reinstate

within one hundred and eighty (180) days, as to the following Defendant:

               Defendant Name                                         Line No.
                  RNUYKE                                                234

Dated this 11th day of June 2020.           Respectfully submitted,


                                            /s/ Allyson M. Martin
                                            Amy C. Ziegler
                                            Justin R. Gaudio
                                            Allyson M. Martin
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